          Case 1:16-cv-02307-CRC Document 6 Filed 03/28/17 Page 1 of 5



                         THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

CHELSEA E. MANNING,                           )
                                              )
                       Plaintiff,             )
v.                                            )         Civil Action No. 1:16-cv-02307
                                              )
The Honorable James R. CLAPPER                )
Director of National Intelligence             )
Office of the Director of National Intelligence
Washington, DC 20511,                         )
                                              )
The Honorable Jefferson SESSIONS III          )
Attorney General                              )
950 Pennsylvania Avenue, NW                   )
Washington, DC 20530-0001,                    )
                                              )
U.S. DEPARTMENT OF JUSTICE                    )
950 Pennsylvania Avenue, NW                   )
Washington, DC 20530-0001,                    )
                                              )
The Honorable James B. COMEY                  )
Director, Federal Bureau of Investigation )
935 Pennsylvania Avenue, NW                   )
Washington, D.C. 20535-0001,                  )
                                              )
FEDERAL BUREAU OF INVESTIGATION
935 Pennsylvania Avenue, NW                   )
Washington, D.C. 20535-0001,                  )
                                              )
The Honorable James MATTIS                    )
Secretary of Defense                          )
1400 Defense Pentagon                         )
Washington, DC 20301-1400,                    )
                                              )
U.S. DEPARTMENT OF DEFENSE                    )
1400 Defense Pentagon                         )
Washington, DC 20301-1400,                    )
                                              )
Admiral Michael S. ROGERS                     )
Director, National Security Agency,           )
Commander, U.S. Cyber Command,                )
Chief, Central Security Service,              )
9800 Savage Rd., Suite 6272                   )
Ft. George G. Meade, MD 20755-6000,           )

                                                  -1-
          Case 1:16-cv-02307-CRC Document 6 Filed 03/28/17 Page 2 of 5



NATIONAL SECURITY AGENCY,           )
9800 Savage Rd., Suite 6272         )
Ft. George G. Meade, MD 20755-6000, )
                                    )
UNITED STATES OF AMERICA,           )
                                    )
                  Defendants.1      )
____________________________________)

         Motion To Extend Time to Respond to Motion for Preliminary Injunction

       Plaintiff, Chelsea Manning, filed the above captioned action, pro se, against numerous

federal government defendants, including both agencies and individual defendants sued in their

official capacities on November 14, 2016. Plaintiff moved for a preliminary injunction on January

9, 2017. See Dkt. No. 4. On March 21, 2017, plaintiff completed service of the complaint and

motion for a preliminary injunction on the United States Attorney for the District of Columbia,

thereby triggering defendants’ obligation to respond to this lawsuit.         See Fed. R. Civ. P.

4(i)(1)(A)(i); 12(a)(3). Defendants hereby move for the Court to extend the time for them to

respond to the pending motion for a preliminary injunction, and to consolidate it with the date by

which they are obliged to respond to the complaint for the reasons stated below.

       Under the Local Civil Rules, defendants’ response to plaintiff’s motion for a preliminary

injunction would be due by March 28, 2017. See L. Cv. R. 65(c). The Court may, for good cause,

extend this deadline. See Fed. R. Civ. P. 6(b)(1)(A). Defendants believe that it would be in the

interest of judicial economy to combine their opposition to plaintiff’s motion with their own

motion to dismiss. Defendants anticipate that grounds for the denial of a preliminary injunction

will overlap with the grounds for dismissal of this action. The delay in resolving plaintiff’s motion




1
 For the individual federal government defendants sued in their official capacities, the current
office holders have been substituted as defendants pursuant to Rule 25(d) of the Federal Rules of
Civil Procedure.
                                                -2-
           Case 1:16-cv-02307-CRC Document 6 Filed 03/28/17 Page 3 of 5



for a preliminary injunction would not prejudice plaintiff because, although plaintiff sought

preliminary relief based on alleged unlawful surveillance, the complaint does not allege facts

relating to any alleged ongoing surveillance. See, e.g., Complaint, Dkt. No. 1 ¶¶ 66-99 (allegations

relating to alleges physical searches that occurred in October and November 2016), id. ¶ 107

(“[t]he [alleged] electronic surveillance involving the Plaintiff … abruptly terminated on October

27, 2016.”). In addition, plaintiff’s delay in completing service of the complaint and motion for a

preliminary injunction contributed to the delay in resolving this matter. Accordingly, defendants

respectfully request that the Court consolidate a response to the motion for a preliminary injunction

on the same day that a response to the complaint is due, which under Rule 12(a)(3) of the Federal

Rules of Civil Procedure is May 22, 2017.

        Alternatively, if the Court declines to consolidate defendants’ response to the motion for a

preliminary injunction with their response to the complaint defendants request a reasonable

additional period of time to respond to the motion, and propose a deadline that is thirty days from

the date of this filing.

        Plaintiff currently is incarcerated in the U.S. Disciplinary Barracks, Fort Leavenworth,

Kansas and, although she has legal representation in another lawsuit that she has brought against

the federal government in this district, see Manning v. Mattis, Civ No. 16-1609 (D.D.C.), she is

proceeding pro se in this case.2 In the short period of time since service was completed and in

light of the immediate deadline, defendants’ counsel have not yet been able to communicate with

her to discuss this proposed motion.




2
 As the Court may be aware, President Obama commuted plaintiff’s sentence, and she is
scheduled for release on May 17, 2017.
                                                -3-
Case 1:16-cv-02307-CRC Document 6 Filed 03/28/17 Page 4 of 5



                                  Respectfully submitted,

                                  CHAD A. READLER
                                  Acting Assistant Attorney General

                                  CHANNING D. PHILLIPS
                                  United States Attorney


                                  ANTHONY J. COPPOLINO
                                  Deputy Branch Director

                                  /s/_ Robin Thurston__________________
                                  Robin Thurston (Illinois Bar)
                                  Trial Attorney
                                  United States Department of Justice
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                                  Counsel for Defendants




                            -4-
          Case 1:16-cv-02307-CRC Document 6 Filed 03/28/17 Page 5 of 5



                                  CERTIFICATE OF SERVICE

        I certify that on March 28, 2017, I mailed the foregoing motion by certified mail to

plaintiff Chelsea E. Manning at 1300 North Warehouse Road, Fort Leavenworth, KS 66027-

2304.


                                              /s/ Robin Thurston
                                              ROBIN THURSTON




                                                -5-
